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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ADVANCE AMERICA, CASH ADVANCE             )
CENTERS INC., et al.,                     )
                                          )
      Plaintiffs,                         )                  CIVIL ACTION
                                          )
      v.                                  )
                                          )                  Case No. 14-953 (TNM)
FEDERAL DEPOSIT INSURANCE                 )
CORPORATION, et al.,                      )
                                          )
      Defendants.                         )
__________________________________________)

                                   JOINT STATUS REPORT

       The court has referred this matter to the D.C. Circuit Mediation Program, and pursuant to

the Court’s Minute Order of March 1, 2019, the parties submit this Joint Status Report regarding

the status of the mediation.

       The parties met for a mediation session on March 6 and 7, and discussions have

continued since then. Progress has been made, but the parties need more time to determine

whether a final resolution can be reached. Accordingly, the parties request leave to file a Joint

Status Report no later than April 30, 2019, to advise the Court further about the progress of

settlement discussions.

                                      Respectfully submitted,

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